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                                                                                                          Understanding the events of today in a historical
                                                                                                          perspective:

                                                                                                          The New Red Terror, Part I

                                                                                                          The New Red Terror, Part II



                                                                                                             RECENT COMMENTS


                                                                                                          Michael Greek on The Cultural Vanguard Strategy

                                                                                                          Michael Greek on A statement to concerned

                         Welcome to The League of the South                                               Southerners
                                                                                                          OrthodoxConfederate on Southern Baptists
      “We seek to advance the cultural, social, economic, and political well-being and                    condemn Alt-Right and nationalism
             independence of the Southern people, by all honorable means.”                                OrthodoxConfederate on A Band of Brothers

The League of the South is a Southern nationalist organization, headquartered in Killen,                  mtnforge on Max Boot’s “Brotherhood of Man”
Alabama, whose ultimate goal is “a free and independent Southern republic.” The League
de nes the Southern United States as the states that make up the Confederate States of
                                                                                                             UNIFORMS
America. While political independence ranks highly among our goals, we are also a
religious and social movement, advocating a return to a more traditional, conservative
Christian-oriented Southern culture.                                                                      League of the South uniform items and other
                                                                                                          accessories for all members may now be purchased
                                                                                                          at Southern Nationalist Shirts & Patches.
A politically independent sovereign state is not required for “nationhood.” Scots form a
“nation” although they do not have their own state. The South remains very much a
nation even though it has not been an independent sovereign “nationstate” since 1865.                        ARCHIVES
Even then the Confederate States of America were not a unitary state but a
confederation of independent sovereign States.
                                                                                                            Select Month
The League of the South is the largest, most organized, and foremost advocate for the
Southron people in a day and age that is growing increasingly hostile to our very
existence. Our culture is being sacked by an unholy crusade of leftist agitators and                         CATEGORIES
foreign religions and our very physical survival depends on us organizing and
effectively defending ourselves from this enemy who seeks to eliminate us from the
                                                                                                          Activism
planet earth. If we fail to do this then not only will there be no more Southern ags and
monuments, but soon there will be no more Southern people. We will all have been                          Commentary
erased and our birthrights and those we intend to hand down to our children will have                     Image/Video
been given to foreigners and strangers who have no love for our way of life. We are
                                                                                                          News
being purposefully replaced by people who hate the Bible, they hate our ancestors, they
hate our families, and they hate us with such a passion they would stop at nothing to see                 Uncategorized
our culture and bloodline eradicated forever. This is why it is absolutely imperative that
we rally what is left of our people, our resources, and every last vestige of Western
Civilization in Dixie; to stand together and secure a future in which OUR culture can                        META
survive, dominate and thrive.

For the South, cultural as well as political secession is the only practical, the only                    Log in
realistic, and the only moral choice.                                                                     Entries feed

                                                                                                          Comments feed
Deo Vindice (With God as Our Protector)!
                                                                                                          WordPress.org
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IMMIGRATION HURTS SOUTHERN WORKERS                                LEAGUE OF THE SOUTH CONTACT INFORMATION       GEORGIA LS #SECEDE ACTIVISM

                                                                                         League of the South
          LS Immigration Protests i…
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                                                                                                                                            Georg…
                                                                                        Killen, Alabama 35645

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